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                      IN THE UNITED STATES DISTRICT C URT
                                                                             Cv 1 6 201R
                      FOR THE NORTHERN DISTRICT OFT XAS
                              FORT WORTH DIVISION
                                                                   C~~RK, U.S. DISTRICT COURT
UNITED STATES OF AMERICA                                                      Deputy

v.                                              No. 4: 18-CR-239-A

SONIA CANTU (02)

                                 WAIVER OF INDICTMENT

        I, Sonia Cantu, the above named defendant, who is accused in the Information

with the felony offense of Conspiracy to Possess with Intent to Distribute

Methamphetamine, in violation of21 U.S.C. § 846 (21 U.S.C. § 841(a)(l) and (b)(1)(C)),

being advised of the nature of the charges, the proposed Information, and of my rights,

hereby waive prosecution by Indictment and consent that the proceeding may be by

Information rather than by Indictment.

        Signed this   \()f't. day of   ~              , 2018.




SONI CANTU                                      WILLIAM BIGGS
Defendant
